                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA
CYNTHIA SPOON, et al                                     *   CIVIL ACTION
VS.                                                      *
BAYOU BRIDGE PIPELINE, LLC, et al         * NO. 3:19-CV-00516-SDD-EWD
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                           MOTION FOR SUMMARY JUDGMENT
       NOW INTO COURT, through undersigned counsel, come Defendants, Deputies Sharay

Arabie, Stacey Blanchard, Troy Dupuis, Gabe Gauthier, Waversun Guidry, Norris Huval, and

Chris Martin (the “Deputies”), and former St. Martin Parish Sheriff Ronald Theriot, who, for the

reasons set forth in the annexed Memorandum in Support, submit that there is no genuine issue of

material fact that they are not liable to Plaintiffs, and thus the Deputies and Sheriff Theriot move

for summary judgment under Rule 56 of the Federal Rules of Civil Procedure, dismissing all claims

against them, with prejudice, and at Plaintiffs’ cost.



                                               Respectfully submitted,

                                               OATS & MARINO
                                               A Partnership of Professional Corporations

                                               ___s/ Patrick McIntire________________
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